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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


AMERICAN FEDERATION OF STATE,
COUNTY AND MUNICIPAL
EMPLOYEES, AFL-CIO, et al.,

                      Plaintiffs,
                                                       Case No. 1:25-cv-00596-ELH
               v.

SOCIAL SECURITY
ADMINISTRATION, et al.,

                      Defendants.



                NOTICE REGARDING APRIL 15, 2025, HEARING ON
              PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

       This afternoon, the Court denied Plaintiffs’ motion to expand the scope of the preliminary

injunction hearing scheduled at 10:00 a.m. Tuesday, April 15. ECF 137. The Court also accepted

Plaintiffs’ submission of a third declaration executed by Ms. Tiffany Flick. Id.; see ECF 136-1.

The Court had requested that Acting Social Security Administration Commissioner Leland Dudek

participate in the hearing scheduled for tomorrow morning. E.g., ECF 127. Defendants have

reviewed the evidentiary record and considered the demands on the Acting Commissioner’s time.

They have decided to stand on the record in its current form. Defendants will rest their opposition

to Plaintiffs’ motion for a preliminary injunction on the information contained in briefing, stated

at oral argument, and in the administrative record produced by the Social Security Administration.



Dated: April 14, 2025                        Respectfully submitted,
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                              CERTIFICATE OF SERVICE

       I certify that on April 14, 2025, I electronically filed the foregoing and thereby caused a

copy to be served on counsel of record.

                                                   /s/ Bradley P. Humphreys
                                                   BRADLEY P. HUMPHREYS
